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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   SAN ANGELO DIVISION

JACK MILLER, individually, and                §
o/b/o his minor son, D.M.,                    §
          Plaintiff                           §
                                              §
v.                                            §       CIVIL ACTION NO. 6:20-cv-00131-H
                                              §
MICHAEL WEBBER,                               §
TREY MAYBERRY, and                            §
RAYMOND FRANCIS,                              §
      Defendants.                             §

          DEFENDANTS’ UNOPPOSED SECOND MOTION TO EXTEND
     QUALIFIED IMMUNITY MOTION FOR SUMMARY JUDGMENT DEADLINE

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendants, Michael Webber, Trey Mayberry, and Raymond Francis, ask that the

deadline for filing their motion for summary judgment based on immunity be extended for the

following reasons:

        1.    The Court entered its Scheduling Order for Consideration of the Defense of

              Qualified Immunity on April 16, 2021 which set the motion for summary

              judgment based on immunity deadline on June 30, 2021. Part of the reason for

              the deadline of June 30, 2021 was to give Plaintiff time to complete medical

              treatment, obtain the medical and engage in early settlement negotiations and

              mediation.

        2.    On June 23, 2021 Defendants filed their Unopposed Motion to Extend Qualified

              Immunity Motion for Summary Judgment Deadline. On June 28, 2021 the Court

              granted the motion and extended the deadline to July 29, 2021.
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       3.      Defendants were today served with the medical records of Plaintiff and are

               presently waiting for a demand from Plaintiff to begin settlement discussions.

       4.      To avoid incurring legal expenses and unnecessary attorney’s fees, and to give

               settlement of this case its best chance, Defendants request that the current

               deadline for filing their Motion for Summary Judgment based on qualified

               immunity be extended another 30 days to August 30, 2021 for settlement

               discussions.

       WHEREFORE, Defendants request that the motion for summary judgment based on

qualified immunity deadline be extended to August 30, 2021 and for such other relief to which

they may show themselves justly entitled.

                                               Respectfully submitted,
                                               JACKSON WALKER L.L.P.
                                               136 W. Twohig Ave., Suite B
                                               San Angelo, Texas 76903
                                               (325) 481-2560
                                               (325) 481-2585 - Facsimile

                                               By: /s/ Jon Mark Hogg
                                                       Jon Mark Hogg
                                                       jmhogg@jw.com
                                                       State Bar No. 00784286
                                               ATTORNEYS FOR DEFENDANTS


                              CERTIFICATE OF CONFERENCE

       I hereby certify that I have conferred with James Roberts, counsel for Plaintiffs,
regarding the merits of the foregoing Motion and he does not oppose the relief requested.

       Certified this the 21st day of July, 2021.


                                               /s/ Jon Mark Hogg
                                               Jon Mark Hogg


DEFENDANTS’ UNOPPOSED SECOND MOTION TO EXTEND QUALIFIED
IMMUNITY MOTION FOR SUMMARY JUDGMENT DEADLINE – PAGE 2
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                                 CERTIFICATE OF SERVICE

       This is to certify that on the 21st day of July, 2021, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notice of such filing to all
attorneys of record on file.

                                               /s/ Jon Mark Hogg
                                               Jon Mark Hogg




DEFENDANTS’ UNOPPOSED SECOND MOTION TO EXTEND QUALIFIED
IMMUNITY MOTION FOR SUMMARY JUDGMENT DEADLINE – PAGE 3
